         Case 1:13-cr-00605-JMF Document 296 Filed 10/16/20 Page 1 of 2



                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    T he Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    October 15, 2020


BY ECF

The Honorable Jesse M. Furman
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:    United States v. Justin Lopez, 13 Cr. 605 (JMF)

Dear Judge Furman:

        The Government writes in response to the Court’s October 13, 2020 Order (Dkt. 294) to
submit this status report regarding the above-captioned matter, and to respectfully request, on
behalf of the parties, a two-week adjournment of the violation of supervised release proceeding
currently scheduled for October 26, 2020.

        Since the parties’ September 10, 2020 status update to the Court (Dkt. 292), the
Government arranged for detectives from the New York City Police Department to obtain DNA
evidence from the defendant, with his consent. The DNA evidence, which was obtained from the
defendant on October 8, 2020, is currently being examined with DNA evidence obtained from the
firearm that is related to Violations 6, 7, and 8 of the United States Probation Department’s May
29, 2020 Amended Violation Report (the “Amended Violation Report”). The results of the DNA
examination will provide additional information to the parties as we discuss how to proceed with
respect to Violations 6, 7, and 8 of the Amended Violation Report. Based on discussions with the
Office of the Bronx District Attorney, the Government understands that this DNA examina tio n
may take approximately three to six weeks to complete.

        Accordingly, the Government, the defendant, and the Probation Office respectfully request
an adjournment of approximately two weeks to allow time for the DNA evidence to be examined
and the results to be made available, which will inform how the parties will proceed as to the
violations specified in the Amended Violation Report. Should the results of the DNA evidence
         Case 1:13-cr-00605-JMF Document 296 Filed 10/16/20 Page 2 of 2

Honorable Jesse M. Furman
October 15, 2020
Page 2 of 2

become available before any scheduled proceeding, the parties will promptly inform the Court and
provide the Court with a proposal for how to proceed.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney

                                               By:   _/s/ Negar Tekeei________________
                                                     Negar Tekeei
                                                     Assistant United States Attorney
                                                     (212) 637-2482

cc:    Neil Checkman, Esq. (by email)
       Godwin Ogunmefun, U.S. Probation Officer (by email)




       The October 26, 2020 proceeding is ADJOURNED sine die. Instead of scheduling a
       new date at this time, the parties shall file a status update no later than November 9,
       2020, and propose next steps. After reviewing the letter, the Court will set a new
       conference date. The Clerk of Court is directed to terminate Doc. # 295.

                                     SO ORDERED.



                                                 October 16, 2020
